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     Peter Neufeld*
 1
     (New York Bar No. 1020841)
 2   Nick Brustin*
     (New York Bar No. 2844405)
 3   Anna Benvenutti Hoffmann*
     (New York Bar No. 4412011)
 4
     Katie McCarthy*
 5   (New York Bar No. 5583141)
     Kate Fetrow*
 6   (New York Bar No. 955937)
 7   * Pro Hac Vice Applications Pending
     Neufeld Scheck & Brustin, LLP
 8   99 Hudson Street, 8th Floor
 9   New York, NY 10013
     212-965-9081 Phone • 212-965-9084 Fax
10   peter@nsbcivilrights.com
11   nick@nsbcivilrights.com
     anna@nsbcivilrights.com
12   katie@nsbcivilrights.com
13   katef@nsbcivilrights.com
     John Thomas
14   (Idaho Bar No. 6727)
     166 Martinsburg Lane
15
     Idaho Falls, LD 83404
16   jthomas@co.bonneville.id.us
17
                          IN THE UNITED STATES DISTRICT COURT
18
                                 FOR THE DISTRICT OF IDAHO
19
20                                                     )
     Christopher Tapp, an individual,                  )
21                                                     )
22                 Plaintiff,                          ) Case No.
                                                       )
23   v.                                                ) COMPLAINT AND DEMAND FOR
                                                       ) JURY TRIAL
24   The City of Idaho Falls, Jared Fuhriman,          )
25   Steven G. Finn, Ken Brown, Curtis Stacey,         )
     Phillip Grimes, Kent Livsey, and Steve Roos       )
26                                                     )
                  Defendants.                          )
27   ______________________________________
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                                   COMPLAINT AND JURY DEMAND
 1
             Plaintiff Christopher Tapp, by and through his attorneys, the law firm Neufeld Scheck &
 2
 3   Brustin, LLP, and John Thomas, alleges as follows:

 4
                                             INTRODUCTION
 5
 6   1.   Christopher Tapp spent an unimaginable 20 years, 1 month, and 22 days wrongfully
 7        imprisoned, and 21 years and 2 months wrongfully convicted, for the 1996 rape and murder
 8
          of Angie Dodge—a crime he did not commit and had absolutely nothing to do with.
 9
     2. Angie Dodge was actually raped and murdered by Brian Dripps, who lived across the street
10
11        from her and acted alone. Recent DNA testing has confirmed that Dripps was the source of

12        the semen and hair found on Dodge’s body. When brought in for questioning, Dripps
13
          confessed to raping and murdering Dodge. He also acknowledged that he had acted alone and
14
          that he did not know Tapp. Dripps has been charged with the rape and murder of Angie
15
16        Dodge and is currently awaiting trial.

17   3. Tapp’s wrongful imprisonment was the direct result of egregious misconduct by Defendant
18        officers of the Idaho Falls Police Department (“IFPD”) and the City of Idaho Falls.
19
          Defendants knew or should have known that Tapp had nothing to do with the crime, because
20
          the objective evidence from the crime scene indicated that there was a single perpetrator,
21
22        pretrial DNA evidence excluded Tapp as a potential source of the semen found on the

23        victim’s body, and absolutely no physical evidence connected him to the crime.
24   4. But despite Tapp’s innocence, Defendants engaged in a coordinated campaign to wrongfully
25
          convict Tapp for Dodge’s murder.
26
     5. In particular, Defendants coercively and abusively interrogated Tapp for about sixty hours,
27
28        repeatedly threatening him with death, lying to him, and falsely promising him leniency if he

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        told them what they wanted to hear. Defendants also continuously used coercive and
 1
 2      manipulative sham polygraphs on Tapp—not to get to the truth—but in order to coerce Tapp

 3      into giving five distinct, false and fabricated confessions.
 4
     6. When Tapp first spoke to the police, he told the truth: that he knew nothing about the crime
 5
        and indeed had never even been to Dodge’s apartment. Tapp only falsely confessed under
 6
 7      Defendants’ unrelenting and constant pressure and manipulation, including their use of

 8      multiple sham polygraphs, false promises of leniency, death threats, lies, and manipulation.
 9   7. Each of the five false confessions that Defendants coerced Tapp into giving precisely fit
10
        Defendants’ theory of the murder at the time they were given. And, as Defendants learned
11
        new information and their theory of the crime changed, rather than acknowledge the truth—
12
13      that Tapp is innocent—Defendants coerced new confessions from Tapp that fit their evolving

14      theory.
15   8. Moreover, because he is innocent, Tapp had no information about the crime. And so, for each
16
        of the five false confessions that Defendants coerced from Tapp, Defendants broke the rules
17
        and fed Tapp key non-public details about Dodge’s murder, and then falsely reported that
18
19      those details had come from Tapp, and that those details corroborated Tapp’s confessions.

20   9. When Defendants first spoke to Tapp, he truthfully denied any knowledge of the crime. But
21
        Defendants, months into a high-profile investigation without a suspect, were unsatisfied with
22
        the truth. So, Defendants coerced Tapp into falsely stating that Defendants’ suspect at the
23
24      time—a young man named Benjamin Hobbs, who was friends with Tapp—had confessed to

25      Tapp that he killed Dodge.
26   10. But Defendants were still unsatisfied with Tapp’s confession. And so they coerced Tapp into
27
        falsely confessing to a second story: that Tapp had been at Dodge’s apartment the night of
28

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        the murder, had seen Hobbs attack Dodge with a knife, and then, frightened, had run away
 1
 2      only to return later to see Dodge’s body.

 3   11. But, shortly after Defendants had wrung this false confession from Tapp, Defendants learned
 4
        that DNA evidence excluded both Tapp and Hobbs as the source of the semen found on
 5
        Dodge’s body—meaning the fabricated confessions that Defendants had wrung from Tapp
 6
 7      were demonstrably false.

 8   12. Rather than acknowledge the truth—that Tapp was not at all involved in Dodge’s murder—
 9      Defendants instead wrung a third confession from him, this time feeding Tapp another name:
10
        Jeremy Sargis. In this false confession, Defendants coerced Tapp into saying that Tapp,
11
        Hobbs, and Sargis had entered Dodge’s apartment and then Hobbs and Sargis had attacked
12
13      Dodge.

14   13. But, yet again, the evidence quickly demonstrated that the story Defendants coerced from
15      Tapp was false: Additional DNA testing revealed that Sargis was not the source for the
16
        semen at the scene, either.
17
     14. Defendants then forced Tapp into a fourth false confession. In this version of the story,
18
19      Sargis was not at the scene, but rather Tapp, Hobbs, and a third man had purportedly entered

20      Dodge’s apartment. Because Defendants did not have a name to feed Tapp for this unknown
21
        third man, this time, Tapp was unable to name the third “perpetrator,” Defendants also forced
22
        Tapp to falsely confess, in this version of events, that Tapp held down Dodge’s arms while
23
24      Hobbs and the third man had sexually assaulted her.

25   15. Defendants were still unsatisfied with Tapp’s four false confessions. And so they coerced a
26      fifth final, false confession from Tapp to pin the blame on Tapp himself. In the fifth and final
27
28

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        version of events, Hobbs had threatened Tapp into participating in the crime, and Tapp had
 1
 2      then cut Dodge across the breast.

 3   16. To shore up this false confession, Defendants also coerced a vulnerable teenaged girl,
 4
        Destiny Osborne, into falsely reporting that she heard Tapp confess to the crime. After
 5
        Tapp’s conviction, she admitted that her story was completely fabricated, had been fed to her
 6
 7      by Defendants, and that she had only repeated Defendants’ false story because Defendants

 8      had threatened and coerced her.
 9   17. Absolutely no physical or forensic evidence tied Tapp to this crime; the key evidence offered
10
        against him at trial was the false confession that Defendants had extracted from Tapp, the
11
        “corroborating” facts that Defendants had fed to Tapp and then falsely reported came from
12
13      him, and Osborne’s coerced false statement.

14   18. By 2009, the existence of exculpatory DNA evidence and other evidence proving Tapp’s
15      innocence was obvious and widely available. Indeed, even the victim’s mother recognized
16
        his innocence and actively advocated for Tapp’s release. However, the IFPD actively
17
        suppressed or otherwise wrongfully failed to act on newly discovered information that would
18
19      have resulted in Tapp’s immediate release. In 2009, the IFPD was given the opportunity to

20      perform Y-STR DNA testing to identify the perpetrator’s paternal line and thus identify the
21
        perpetrator—which would have cleared Tapp’s name and secured his release a decade
22
        early—but the IFPD declined. Instead of fulfilling their legal and constitutional obligations to
23
24      help secure the release of an obviously innocent man, the IFPD buried or wrongfully

25      represented the evidence and the circumstances of the investigation in refusing to perform the
26      additional testing and search.
27
28

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     19. On July 17, 2019, more than twenty-two years after Tapp was wrongfully arrested for a
 1
 2      murder he did not commit, the Seventh Judicial District of Idaho Falls, County of Bonneville

 3      held a hearing in which Judge Alan Stephens announced he was going to vacate and dismiss
 4
        the charges against Tapp. “As far as this court is concerned,” Judge Stephens explained to
 5
        Tapp, “you are innocent of the convictions you have been living under for the past 20-plus
 6
 7      years. I don’t think any of us could imagine what it would be like to experience

 8      imprisonment for something we didn’t do . . . I’m just glad it could be corrected at this time.”
 9      Shortly thereafter all convictions were vacated and charges dismissed on the basis of Tapp’s
10
        actual innocence. Tapp’s wrongful conviction and continued wrongful imprisonment was not
11
        the work of rogue, low-level officers at the IFPD. Rather, it occurred in one of the most high-
12
13      profile investigations ever conducted by the IFPD, with direct involvement by supervisors

14      and senior officials at the Department, including the Chiefs of Police Kent Livsey and Steve
15      Roos.
16
     20. Alternatively, Tapp’s wrongful imprisonment was the result of an investigation and post-
17
        conviction misconduct so grossly negligent, negligent, reckless, or deliberately indifferent to
18
19      Tapp’s liberty interests so as to amount to a constitutional deprivation of his civil rights.

20   21. Tapp’s actual innocence is widely recognized by leading national experts, courts, and even
21
        the victim’s mother. Post-conviction DNA testing has repeatedly confirmed that there was
22
        only one perpetrator, Brian Dripps, and excluded Tapp as the source of any the perpetrator
23
24      DNA evidence found at the crime scene.

25   22. As a direct and proximate result of Defendants’ actions and omissions, Tapp sustained
26      injuries and damages, including loss of his freedom for more than twenty years, loss of the
27
        most productive years of his adult life, pain and suffering, mental anguish, emotional
28

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        distress, indignities, degradation, permanent loss of natural psychological development, and
 1
 2      restrictions on all forms of personal freedom including but not limited to diet, sleep, personal

 3      contact, educational opportunity, vocational opportunity, athletic opportunity, personal
 4
        fulfillment, sexual activity, family relations, reading, television, movies, travel, enjoyment,
 5
        and freedom of speech and expression.
 6
 7   23. Moreover, Tapp sustained discrete, traumatic personal and bodily injuries, some life-

 8      threatening, that were actually and proximately caused by the Defendants’ actions, errors, or
 9      omissions—including not only their initial investigatory misconduct but their constitutional
10
        failures in post-conviction years leading to Tapp’s continued wrongful imprisonment.
11
     24. Even if the City of Idaho Falls and/or individual Defendants may not have expected or
12
13      intended to continue to imprison an innocent man or cause these grave injuries, defendants

14      are nonetheless legally responsible under 42 U.S.C. § 1983 because these injuries are the
15      foreseeable result of the defendants’ recklessness, negligence, or deliberate indifference to
16
        Mr. Tapp’s rights, their policies and procedures, and their failure to train and supervise their
17
        employees.
18
19   25. Mr. Tapp—now free and finally exonerated—brings this lawsuit to hold those who illegally

20      caused his wrongful conviction and over two decades of wrongful imprisonment accountable.
21
                                     JURISDICTION AND VENUE
22
     26. This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation under color of
23
24      law of Tapp’s rights as secured by the United States Constitution.

25   27. This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.
26   28. Supplemental jurisdiction over Tapp’s state law claims exists pursuant to 28 U.S.C.
27
        § 1367(a).
28

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     29. Venue is properly laid in the District of Idaho under U.S.C. § 1391(b), in that this is the
 1
 2      District in which the claim arose.

 3   30. Tapp respectfully demands a trial by jury on all issues and claims set forth in this Complaint,
 4
        pursuant to the Seventh Amendment of the United States Constitution and Federal Rule of
 5
        Civil Procedure 38(b).
 6
 7   31. Tapp has complied with the requirements of Idaho Tort Claims Act § 6-901 et seq., and

 8      served Defendant the City of Idaho Falls with a Notice of Claim on December 20, 2019, and
 9      an Amended Notice of Claim on January 17, 2020.
10
                                                    PARTIES
11
     32. Plaintiff Christopher Tapp was wrongfully arrested, indicted, prosecuted, tried, convicted,
12
13      and imprisoned by the acts of Defendants in this Complaint. He is, and at all times relevant

14      herein was, an individual residing in the State of Idaho.
15   33. Defendant City of Idaho Falls is a municipality incorporated in the State of Idaho. At all
16
        times relevant to this action, the Idaho City Falls Police Department is and was a part, and
17
        under the responsibility, of the City of Idaho Falls.
18
19   34. Defendant Jared Fuhriman, at all times relevant herein, was employed by the IFPD, acting

20      under color of law and in his individual capacity within the scope of employment pursuant to
21
        the statutes, ordinances, regulations, policies, customs, and usage of the City of Idaho Falls.
22
        Fuhriman went on to serve two terms as the mayor of Idaho Falls. He is sued in his
23
24      individual capacity.

25   35. Defendant Steven G. Finn, at all times relevant herein, was employed as a Detective by the
26      IFPD, acting under color of law and in his individual capacity within the scope of
27
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        employment pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
 1
 2      the City of Idaho Falls. He is sued in his individual capacity.

 3   36. Defendant Ken Brown, at all times relevant herein, was employed as a Detective by the
 4
        IFPD, acting under color of law and in his individual capacity within the scope of
 5
        employment pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
 6
 7      the City of Idaho Falls. He is sued in his individual capacity.

 8   37. Defendant Curtis Stacey was employed as a Sergeant by IFPD, acting under color of law
 9      and in his individual capacity within the scope of employment pursuant to the statutes,
10
        ordinances, regulations, policies, customs, and usage of the City of Idaho Falls. He is sued in
11
        his individual capacity.
12
13   38. Defendant Phillip Grimes was employed as a Detective by the IFPD, acting under color of

14      law and in his individual capacity within the scope of employment pursuant to the statutes,
15      ordinances, regulations, policies, customs, and usage of the City of Idaho Falls. He is sued in
16
        his individual capacity.
17
     39. Defendant Kent Livsey, at all times relevant herein, was the duly appointed and acting Chief
18
19      of the IFPD, acting under color of law and in his individual capacity within the scope of

20      employment pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
21
        the City of Idaho Falls. He is sued in his individual capacity.
22
     40. Defendant Steve Roos, at all times relevant herein, was the duly appointed and acting Chief
23
24      of the IFPD, acting under color of law and in his individual capacity within the scope of

25      employment pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
26      the City of Idaho Falls. He is sued in his individual capacity.
27
28

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                                           FACTUAL ALLEGATIONS
 1
 2                             Brian Dripps rapes and murders Angie Dodge

 3   41. In the early hours of June 13, 1996, Brian Dripps, who was in his thirties, broke into the
 4
        apartment of his neighbor, eighteen-year-old Angie Dodge, raped her, and murdered her with
 5
        a knife.
 6
 7   42. Dripps, who was known to be violent, lived across the street from Dodge at the time of the

 8      crime but had no social contact with her. He was more than a decade older than Dodge.
 9   43. Dripps acted alone. Chris Tapp, who was nineteen years old at the time, did not know Dripps
10
        and did not have anything to do with this crime.
11
     44. Chris Tapp is completely innocent of the Dodge rape and murder.
12
13              Defendants investigate the murder for months but fail to arrest real killer

14   45. Responding to a 911 call, IFPD officers arrived at the apartment the next morning and began
15      their investigation. Defendants Sergeant Curtis Stacey and Detective Ken Brown were among
16
        the first officers at the scene.
17
     46. Defendants found Dodge’s body lying in the bedroom next to the bed with her throat slashed.
18
19      She also had multiple wounds to her chest and hands. Her blue sweatpants were pulled down

20      and her purple t-shirt was pulled up. There were blood splatters on the wall near the body.
21
     47. Confronted with the extensive crime scene, Defendants took only a few dozen photographs,
22
        rather than hundreds of photographs as would have been standard for police investigations of
23
24      homicides at the time. In addition, the few photographs Defendants did take were haphazard;

25      they lacked a ruler and identifying placard, which would have been essential to permit a
26      viewer to understand the scale and relevance of the photographs, and which was the standard
27
        practice for police investigations of homicides at the time.
28

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     48. Defendants knew from the evidence at the scene that the crime had a single perpetrator. They
 1
 2      also collected or supervised the collection of samples for a rape kit from Dodge’s body and

 3      collected samples of bodily fluids from the scene.
 4
     49. Defendants interviewed Dodge’s neighbors and friends. They learned Dodge had last been
 5
        seen alive around 12:20 a.m. on June 13 when friends who had been visiting with her left her
 6
 7      apartment.

 8   50. The case quickly grew into one of the highest-profile cases that IFPD had ever worked. The
 9      Chief of Police, Kent Livsey, quickly became directly involved in supervising the
10
        investigation, including providing multiple statements about the progress of the investigation
11
        to the press.
12
13   51. Within days of the murder, as part of their investigation, IFPD officers questioned the true

14      perpetrator, Brian Dripps. Dripps, who lived in a basement apartment across the street from
15      Dodge, admitted to the police that he was out until 3:00 am the night Dodge was raped and
16
        murdered—the very window of time that the crime occurred—and claimed to be too drunk to
17
        remember anyone he would have seen. Despite this suspicious statement, Dripps’s proximity
18
19      to Dodge, and his violent reputation, Defendants either failed to investigate Dripps further or

20      failed to report the results of any investigation they did conduct. Although the IFPD took
21
        blood samples for DNA testing from at least sixty-five other men during their investigation,
22
        Defendants did not take a sample from Dripps. If Defendants had done so, they would have
23
24      correctly solved the murder and spared Tapp.

25   52. Moreover, on information and belief, two police officers on bicycles were covering that
26      neighborhood in the early morning hours of June 13, 1996—the night of the crime, and at a
27
        time Dripps had told the police he was out on the street. However, these officers either failed
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        to document their interactions that night, or thereafter destroyed any documentation of those
 1
 2      interactions.

 3   53. Instead, Defendants learned that Dodge was part of a group of friends that spent time along
 4
        the Snake River, which runs through the center of Idaho Falls and is accessible at various
 5
        points to the public.
 6
 7   54. Defendants interviewed multiple members of that group of friends, including Chris Tapp.

 8   55. Tapp, then nineteen years old, was a lifelong resident of Idaho Falls.
 9   56. Tapp gave a voluntary statement to Defendant Phillip Grimes in November, answering
10
        questions about who Dodge had interacted with at the Snake River. Tapp truthfully told
11
        Grimes that he had never been to Dodge’s apartment. Along with dozens of other teenaged
12
13      boys and young men, Tapp also voluntarily gave a blood sample in late 1996.

14   57. Consistent with the objective evidence at the crime scene and Defendants’ theory at this point
15      in the investigation that the crime had been committed by a single perpetrator, once these
16
        young men were excluded as the source of the semen at the scene, Defendants no longer
17
        pursued them as suspects.
18
19      Defendants focus their investigation on Benjamin Hobbs after learning Hobbs had been
                               arrested on unrelated charges in Nevada
20
     58. After nearly six months of investigation into the murder, Defendants had failed to follow up
21
22      on their interviews with the true perpetrator, Dripps, and their investigation was faltering.

23      Then, on January 6, 1997, Defendants learned that a young man named Benjamin Hobbs—
24
        who was one of the teenagers that hung out at the Snake River—had been arrested on an
25
        unrelated rape charge in Ely, Nevada. Hobbs had been an acquaintance of Dodge and was a
26
27      friend of Tapp.

28

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     59. Facing mounting pressure to solve this high-profile crime, Defendants, out of desperation,
 1
 2      decided to focus their investigation on Hobbs (and his friends to the extent they might

 3      provide evidence incriminating Hobbs), despite the fact that absolutely no evidence linked
 4
        Hobbs or any of his friends, including Tapp, to the crime.
 5
     60. The very next day, Defendants Jared Fuhriman and Grimes drove Tapp to the police station
 6
 7      to question him.

 8   Defendants subject Tapp to nearly sixty hours of coercive and manipulative interrogations and
                    sham polygraphs to wring multiple false confessions from him
 9
10   61. Defendants first interviewed Tapp on January 7, 1997. Tapp was cooperative and truthfully

11      denied any knowledge of or involvement in the crime.
12   62. Fuhriman, along with Grimes, Brown, Stacey, and Finn, set out on a continuous course of
13
        coercion, manipulation, threats, and false promises to secure a false confession from Tapp.
14
        At this point, Defendants’ theory was that Hobbs was the sole perpetrator. Their aim in
15
16      questioning Tapp was to pressure Tapp into providing evidence against Hobbs.

17   63. To pressure Tapp into implicating Hobbs, right from the start, Fuhriman lied to Tapp, telling
18
        him it looked like Tapp had been involved in Dodge’s murder—despite Tapp’s actual
19
        innocence, the lack of any evidence whatsoever connecting him to the crime, and the fact that
20
        Defendants’ goal in this interrogation was to pressure Tapp into providing evidence against
21
22      Hobbs. Fuhriman also, from the beginning, threatened to “fry” Tapp when Tapp said,

23      truthfully, that he knew nothing about the crime.
24
     64. Throughout this campaign of coercion, Fuhriman, Finn, Grimes, Brown, and Stacey acted
25
        either at Chief Livsey’s direction or with his knowledge and consent.
26
27   65. Fuhriman, Grimes, Brown, Stacey, and Finn conducted this campaign of coercion under

28      Livsey’s supervision. When Tapp’s mother tried to put a stop to the interrogations, Livsey

                                                    13
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        even personally intervened to try to convince Tapp’s mother to let the interrogations
 1
 2      continue.

 3   66. Over the course of the next three weeks—between January 7, 1997, and February 1, 1997—
 4
        Fuhriman, Brown, Stacey, Grimes, and Finn subjected Tapp to a total of nine interrogations
 5
        and seven sham polygraph examinations, in sum about sixty hours. These interrogations
 6
 7      lasted for hours at a time, and even during “breaks” Fuhriman, Brown, Stacey, Grimes, and

 8      Finn continued to coerce, manipulate, question, and pressure Tapp. Defendants also
 9      threatened Tapp with death multiple times, lied to him, and refused his requests for real
10
        breaks, even when the exhausted and often sobbing Tapp repeatedly begged for them.
11
     67. Despite the absence of any evidence against him, Fuhriman arrested Tapp on January 11,
12
13      1997, on the charge that Tapp was an accessory to Dodge’s murder.

14   68. Through the course of these interrogations, Defendants coerced, pressured, and manipulated
15      Tapp into falsely confessing to this crime. Defendants’ coercion included conducting seven
16
        polygraph examinations in which they repeatedly lied to Tapp and told him he had failed the
17
        polygraphs. Defendants’ abuse of these sham polygraphs was not in the service of
18
19      ascertaining the truth, but rather to overbear Tapp’s will in order to coerce him into making

20      several false confessions. Defendants also coerced Tapp by threatening him multiple times
21
        with death by electric chair and gas chamber.
22
     69. Defendants conducted this campaign of coercion and manipulation despite learning of
23
24      exculpatory DNA evidence that any reasonable officer would have realized proved Tapp’s

25      innocence. Yet, each and every time—rather than accept Tapp’s innocence—Defendants
26      instead, unreasonably, changed their theory of the case and manipulated Tapp into confessing
27
        to a new version of the story that fit whatever Defendants’ current theory of the case was.
28

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     70. Defendants learned on January 17, 1997, that Tapp’s and Hobbs’s DNA did not match the
 1
 2      semen found at the scene. Because the objective evidence at the scene indicated it was a

 3      single-perpetrator crime, any reasonable officer would have known that this DNA evidence
 4
        conclusively excluded Tapp as the perpetrator of this crime. Nor could Tapp be Hobbs’s
 5
        accomplice when Hobbs was likewise conclusively excluded as the source of the semen left
 6
 7      by the perpetrator.

 8   71. But despite this conclusive evidence of Tapp’s innocence, Defendants continued their
 9      campaign of coercion and manipulation to force Tapp to falsely confess to multiple versions
10
        of the crime that fit Defendants’ evolving evidence and theory of the case.
11
     72. Throughout the three-week gauntlet which Defendants put Tapp through, Defendants caused
12
13      Tapp to falsely confess not once, but nearly half a dozen times to different versions of the

14      crime. As Defendants learned new facts about the case, they coerced new confessions from
15      Tapp to match their shifting theory of the case.
16
     73. Defendants first coerced Tapp into saying, falsely, that though he had not been at Dodge’s
17
        apartment the night of the murder, Hobbs had killed Dodge and then confessed to Tapp.
18
19   74. Defendants then forced Tapp to change this story a second time, perhaps realizing it would

20      be better to have him as a witness to the crime itself: in this version, Defendants coerced
21
        Tapp to falsely state he had been with Hobbs at Dodge’s apartment, that Hobbs had argued
22
        with Dodge, and that he witnessed Hobbs attack Dodge with a knife. In this version of
23
24      Defendants’ story, Tapp ran out of the building and hid before later re-entering the apartment

25      and seeing Dodge’s body.
26   75. This false and coerced confession did not match the evidence from the crime scene, as
27
        Defendants well knew. For example, Dodge’s apartment door locked from the outside, and so
28

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        there was no way that Tapp could have left the apartment and then reentered without a key.
 1
 2      But rather than acknowledge that the confessions that they had wrung from Tapp were false

 3      and that Tapp was completely innocent, Defendants pushed to have Tapp charged with the
 4
        murder.
 5
     76. Yet shortly after Defendants coerced Tapp into making the second false confession,
 6
 7      Defendants learned that neither Tapp nor Hobbs matched the DNA from the semen found on

 8      the victim, meaning that the most recent account of events Defendants coerced from Tapp
 9      did not match the actual evidence in the case: Neither Tapp nor Hobbs was the perpetrator.
10
     77. And so Defendants pressured Tapp into “confessing” to yet another version of events.
11
        Defendants first fed Tapp the name of a third young man, Jeremy Sargis, just as they had fed
12
13      Tapp Hobbs’ name earlier. Defendants then coerced Tapp into falsely confessing that Tapp,

14      Hobbs, and Sargis had entered Dodge’s apartment, that Tapp saw Hobbs and Sargis sexually
15      assault Dodge, and that Hobbs and Sargis then stabbed her. But DNA testing results a week
16
        later excluded Sargis as the source of the DNA at the scene, too.
17
     78. Defendants then coerced and pressured Tapp into making a fourth “confession.” But this
18
19      time, Defendants did not have a name to feed Tapp. And so, this time, when Defendants

20      coerced Tapp into saying that the third man was not Sargis, but another man who was with
21
        Tapp and Hobbs in Dodge’s apartment, Tapp could only “confess” that he did not remember
22
        the third man’s name. In this version of events, Defendants also coerced Tapp into
23
24      “confessing” to having held down Dodge during the attack.

25   79. A few days later, Defendants coerced Tapp into making a fifth and final false “confession”—
26      that Hobbs had threatened Tapp and forced Tapp to participate in the crime, and so Tapp had
27
        cut Dodge across the chest.
28

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     80. On February 3, 1997, a warrant of arrest was issued for Tapp and he was indicted by criminal
 1
 2      complaint with murder in the first degree, in violation of Idaho Code §§ 18-4001, 18-4002,

 3      and 18-4003(a), and rape, in violation of Idaho Code §§ 18-6101(3), (4).
 4
      Defendants feed Tapp secret facts about the crime to fabricate a false confession from Tapp
 5
     81. As none of the DNA at the scene matched Tapp, Hobbs, or Sargis, Defendants knew or
 6
 7      should have known that the stories they had coerced Tapp into “confessing” to were false. So

 8      Defendants took steps to falsely bolster the appearance of reliability of Tapp’s coerced
 9      confessions.
10
     82. Because Tapp had nothing to do with the crime and therefore knew nothing about it, to make
11
        Tapp’s “confessions” appear reliable, for every one of Tapp’s coerced false confessions,
12
13      Defendants Fuhriman, Brown, Stacey, Grimes, and Finn fed Tapp non-public details of the

14      crime known only to the IFPD and the real perpetrator, Dripps.
15   83. During smoke breaks and other pauses in the interrogations, Defendants told Tapp the story
16
        they wanted him to tell and fed him non-public facts about the crime to weave into that story.
17
        They then falsely reported that those stories and facts originated with Tapp. Defendants also
18
19      took Tapp to Dodge’s apartment, where they threatened him with rape and death, and

20      provided him with yet more non-public details about the crime.
21
     84. For example, and without limitation:
22
                a. Defendants knew that Dodge had a long cut on her right breast from the autopsy
23
24                 and from viewing the crime scene and photographs of it. Defendants, including

25                 but not limited to Fuhriman, Grimes, Brown, and Finn, provided this fact to Tapp
26                 and then, when Tapp repeated that fact back to them, falsely reported that Tapp
27
                   had volunteered that non-public fact. Defendants then misrepresented that the
28

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          only way that Tapp could have known that Dodge had a cut on her breast was if
 1
 2        he had committed the crime. Fuhriman also falsely stated in his report that Tapp

 3        had volunteered that he had cut Angie across the right breast.
 4
       b. Defendants knew that Dodge had been hit in the face from the autopsy.
 5
          Defendants, including but not limited to Fuhriman, Grimes, Brown, and Finn,
 6
 7        provided this fact to Tapp and then falsely reported that Tapp had volunteered that

 8        non-public fact. They then misrepresented that the only way that Tapp could have
 9        known that fact was if he had committed the crime.
10
       c. Defendants knew the layout of Dodge’s apartment, including which entryway and
11
          porch led to that apartment. Defendants, including but not limited to Fuhriman
12
13        and Finn, provided that information to Tapp and then falsely reported that Tapp

14        had volunteered this non-public information. Defendants then misrepresented that
15        the only way that Tapp could have known this was if he had been in Dodge’s
16
          apartment before, and thus that his supposed knowledge of the apartment
17
          corroborated his confession.
18
19     d. Defendants knew that Dodge was found wearing sweatpants and a t-shirt, and that

20        the sweatpants were found pulled halfway down Dodge’s legs. Defendants,
21
          including but not limited to Fuhriman and Finn, provided this information to Tapp
22
          and then falsely represented that Tapp had volunteered this non-public fact. They
23
24        then misrepresented that the only way that Tapp could have known that fact was if

25        he had committed the crime.
26
27
28

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     85. Despite Defendants’ lies that Tapp provided multiple inculpatory non-public facts to them
 1
 2      over the course of their interrogations and polygraphs, in reality, and as Defendants knew,

 3      Tapp only knew these facts because Defendants had provided them to him.
 4
                   Defendants fabricate additional inculpatory evidence against Tapp
 5
     86. Not content with their coerced confessions and lies about the source of the nonpublic facts
 6
 7      included in those confessions, Defendants, including but not limited to Fuhriman, also

 8      fabricated from whole cloth inculpatory evidence against Tapp.
 9   87. For example, and without limitation, Fuhriman asked Tapp where semen would be found on
10
        Dodge’s body. Defendants knew that semen had been found on Dodge’s leg.
11
     88. But Tapp, who is totally innocent of this crime and therefore had no idea where semen was
12
13      found on Dodge’s body, guessed wrong: He guessed that semen was found on her stomach.

14   89. Defendants, including Fuhriman, knew that the real perpetrator would know that semen
15      would have been found on Dodge’s leg, not her stomach. And so Defendants, including
16
        Fuhriman, fabricated that, although Tapp had said that semen might be located on Dodge’s
17
        upper body, above her waist, Tapp had motioned to indicate that the semen would have been
18
19      on her thighs.

20     Defendants shore up their false and fabricated confession by coercing a vulnerable young
                      woman into falsely stating that Tapp had confessed to her
21
22   90. Defendants knew that the evidence against Tapp was extraordinarily weak: a coerced and

23      false confession only produced through hours of abusive and coercive polygraphs and
24
        interrogations and based solely on facts fed to Tapp by Defendants. And so Defendants set
25
        out to shore up their coerced confession by coercing a fabricated statement against Tapp from
26
27      a vulnerable young woman named Destiny Osborne, whom Defendants could threaten and

28      manipulate.

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     91. Osborne was just a teenager when Defendants decided to coerce a fabricated statement from
 1
 2      her. At the time, Osborne was so heavily addicted to methamphetamine that, from 1996 to

 3      1998, she spent time in a residential behavior health center for that addiction. Osborne did
 4
        not know Hobbs and knew Tapp only as an acquaintance.
 5
     92. When Osborne first spoke to Defendants in February 1997, she told police that she had last
 6
 7      seen Dodge the day before her murder, but had little other evidence to offer.

 8   93. Undeterred by the truth, Defendants, including Fuhriman, Brown, Stacey, and Grimes
 9      decided to coerce and fabricate a false story from Osborne to corroborate the false and
10
        fabricated confession they had coerced from Tapp.
11
     94. Osborne initially told Fuhriman, Brown, and Grimes honestly that she knew nothing about
12
13      the crime and did not even know Hobbs.

14   95. But as with Tapp, Fuhriman, Brown, Grimes, and Stacey were unsatisfied with Osborne’s
15      truthful answer that she knew nothing about the crime. Instead, Fuhriman, Brown, Grimes,
16
        and Stacey repeatedly told Osborne that she had blocked out or suppressed the memory.
17
     96. Fuhriman, Brown, Grimes, and Stacey also threatened to arrest Osborne unless she told them
18
19      what they wanted to hear.

20   97. Finally, after Defendants’ repeated interrogation and threats, Osborne agreed to falsely report
21
        that she had heard Tapp confess.
22
     98. Fuhriman, Brown, Grimes, and Stacey then fed Osborne exactly the story they wanted her to
23
24      tell. When she got something “wrong”, they would “correct” her by telling her again what

25      they wanted her to say.
26   99. Defendants thus coerced Osborne into falsely stating that she had been at a party after
27
        Dodge’s murder and had overheard Tapp and Hobbs confess to the crime.
28

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     100. Brown then fabricated a report of Defendants’ conversation with Osborne. That report stated
 1
 2       that he had received a call from someone who worked at the residential treatment facility

 3       where Osborne was housed. Brown went on to report that he and Stacey had gone to speak
 4
         with Osborne, who was “very nervous” and told them that she had overheard Tapp and
 5
         Hobbs talking at a party about having murdered Dodge.
 6
 7   101.    Brown’s report was totally fabricated: Osborne did not know Hobbs; there was no such

 8       party; and Osborne never heard Tapp and Hobbs—who are totally innocent of this crime—
 9       confess.
10
     102.    Brown’s report also completely omitted that he, Fuhriman, Grimes, and Stacey had
11
         spoken to Osborne multiple times, and that they had pressured, coerced, and threatened
12
13       Osborne for hours before she finally made inculpatory false statements against Tapp. And

14       Brown further omitted from his report that Defendants had fed Osborne the story they wanted
15       her to tell. Instead, they falsely reported, just as they had done with Tapp, that the story came
16
         unprompted from Osborne.
17
     103.    Fuhrman, Brown, Grimes, and Stacey also failed to record or destroyed any recordings of
18
19       their multiple conversations with Osborne.

20   104.    On information and belief, given the high-profile nature of the investigation and Livsey’s
21
         involvement in the interrogations of Tapp, Livsey knew or should have known that Fuhrman,
22
         Brown, Grimes, and Stacey had coerced and fabricated this false inculpatory report.
23
24    Based on Defendants’ false and fabricated evidence, Tapp is tried, convicted, and sentenced to
                                             life in prison
25
     105.    Defendants knew or should have known that Tapp’s confession and Osborne’s statement
26
27       were false, fabricated, and the result of Defendants’ own suggestion, threats, and coercion.

28

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     106.   Defendants withheld from both the prosecutor and Tapp’s defense attorneys that they had
 1
 2      fed Tapp facts about the crime and then falsely claimed that those facts came from Tapp, that

 3      they had fabricated inculpatory evidence against Tapp, and that they had coerced and
 4
        threatened Osborne into offering inculpatory false evidence against Tapp.
 5
     107.   Prior to trial, Tapp moved to suppress his confession on the grounds that he had been
 6
 7      denied the right to counsel and that the interrogations were coercive. Fuhriman, Brown, and

 8      Stacey all testified at his suppression hearing. Fuhriman and Brown testified falsely,
 9      consistent with their earlier reports, that Tapp had volunteered non-public facts. Based on
10
        Defendants’ false evidence, Tapp’s motion was denied in substantial part.
11
     108.   Tapp stood trial beginning May 12, 1998, on charges of murder in the first degree, rape,
12
13      and deadly weapon enhancements in the commission of a felony. Prosecutors sought the

14      death penalty.
15   109.   At trial, based on the false and fabricated evidence reported by Defendants, the
16
        prosecution argued that Tapp, with Hobbs, had raped and murdered Dodge.
17
     110.   The jury was told that Tapp had confessed to participating in the rape and murder of
18
19      Dodge, and that his confession was corroborated by the fact that he had provided multiple

20      non-public facts, including that Dodge had been cut across the right breast, the location and
21
        layout of Dodge’s apartment, that Dodge had been found wearing sweatpants pulled partway
22
        down her legs, and that semen had been found on Dodge’s leg.
23
24   111.   But, because Defendants concealed their egregious misconduct from the prosecution and

25      defense, the jury never learned that each and every one of the non-public facts—which the
26      prosecution identified as evidence that Tapp had knowledge of the crime that only the real
27
        perpetrator could have known—had actually been fed to Tapp by Defendants.
28

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     112.   Osborne’s testimony was also offered against Tapp. Based on Defendants’ continued
 1
 2      threats and coercion, Osborne gave the story that Defendants had fed her: that she had

 3      overheard Tapp and Hobbs confess at a party to murdering Dodge.
 4
     113.   Just as with Tapp’s coerced false confession, because Defendants concealed their
 5
        egregious misconduct from the prosecution and defense, the jury never learned that
 6
 7      Osborne’s testimony was false, fabricated, and fed to Osborne by Defendants.

 8   114.   On May 28, 1998, based on Defendants’ false and fabricated evidence, and after thirteen
 9      hours of deliberation, the jury returned guilty verdicts against Tapp on all counts.
10
     115.   Following a sentencing hearing on December 10, 1998, at which the prosecutor pressed
11
        for a death sentence, the judge sentenced Tapp on December 11 to serve a sentence of life in
12
13      prison plus 15 years and a fixed term of 30 years on the murder conviction and a term of 20

14      years with a fixed term of 10 years on the rape conviction.
15   116.   Although Tapp was prosecuted on a theory he had committed the crime with Hobbs,
16
        Hobbs was not prosecuted.
17
       Tapp’s wrongful conviction was the result of unconstitutional policies and practices of the
18
                                   Idaho Falls Police Department
19
     117.   Tapp’s wrongful conviction was also the direct result of the IFPD’s unconstitutional
20
        investigative policies, practices, customs, and failure to supervise. First, the Chief of Police,
21
22      Kent Livsey, was directly involved in supervising this high-profile investigation. On

23      information and belief, Livsey was aware of the rampant misconduct in the Dodge
24
        investigation and at least tacitly endorsed it.
25
     118.   The widespread and extraordinary misconduct in the Dodge investigation was also part of
26
27      a broader pattern of IFPD investigative misconduct. No later than the early 1990s, the IFPD

28      had a pattern, practice, and/or custom of unconstitutional conduct during criminal

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        investigations, including coercing or suggesting confessions, fabricating evidence, and
 1
 2      systematically failing to supervise and discipline officers, including but not limited to

 3      Fuhriman, enabling such misconduct to persist. On information and belief, the City of Idaho
 4
        Falls, through its policymakers, had prior notice of this pattern of unconstitutional
 5
        misconduct, based on the open and notorious nature of the misconduct, including the
 6
 7      acquiescence and participation of IFPD supervisors.

 8   119.   This policy, practice, or custom involved the use of various techniques to coerce or
 9      fabricate confessions and/or incriminatory statements, including without limitation: the use
10
        of threats, false promises of leniency, psychological manipulation, sham polygraphs,
11
        leveraging or exploiting vulnerabilities of witnesses or suspects, including mental
12
13      vulnerabilities, threatening criminal penalties, and perjury and false statements in police and

14      court documents and proceedings.
15   120.   This policy, practice, or custom also involved the use of various techniques to make false
16
        statements appear true and reliable, including, without limitation: providing a witness or
17
        suspect with details about the crime that only the real perpetrator or police could know,
18
19      whether through leading questions or more direct communication; taking misleading steps to

20      make coerced statements appear as if they originated from the suspect following a lawful
21
        interrogation; and misrepresenting that a suspect’s formal statement was a verbatim
22
        statement in the suspect’s own words.
23
24   121.   On information and belief, this policy, practice, or custom was either promulgated of the

25      Idaho Falls Police Department’s policymaker, or allowed to develop and continue, unabated,
26      with his explicit knowledge and consent. That policymaker also failed to discipline the
27
28

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        multiple officers who engaged in this misconduct, further allowing these unconstitutional
 1
 2      practices to continue.

 3   122.   The Dodge murder investigation is itself a striking example of the IFPD’s systemic
 4
        failure to supervise, train, and discipline its officers and detectives. In this investigation
 5
        alone, seven IFPD officers and detectives coordinated to coerce multiple false and fabricated
 6
 7      confessions from a suspect and to coerce a false and fabricated witness statement. Moreover,

 8      this misconduct happened under the direct supervision of Livesey, the IFPD Chief of Police
 9      himself. If the IFPD had had a constitutionally adequate training and supervision structure,
10
        such widespread misconduct would not have occurred.
11
     123.   Nor was Tapp’s case an isolated incident. For example, in 1991, on information and
12
13      belief, Fuhriman coerced a woman named Sylvia Canido into testifying that her ex-husband,

14      Michael Whiteley, had raped and kidnapped her. Fuhriman, a church bishop in the Church of
15      the Latter-Day Saints, threatened Canido with excommunication if she did not lie. On the
16
        basis of the false testimony that Fuhriman coerced from Canido, Whiteley was tried and
17
        convicted of rape and kidnapping and sentenced to life in prison.
18
19   124.   The City of Idaho Falls also had in force and effect a policy, practice, or custom of failing

20      to adequately supervise and discipline IFPD officers in the exercise of their constitutional
21
        obligations, including their obligations not to fabricate evidence, commit perjury, or hide
22
        exculpatory evidence. This failure by policymakers to properly train, supervise or discipline
23
24      their subordinates amounted to deliberate indifference to the rights of those who came into

25      contact with IFPD officers.
26
27
28

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       Tapp continues to fight to demonstrate his innocence with the help of his defense attorney,
 1
                 leading experts, the Innocence Project, and even the victim’s mother
 2
     125.   Even after his conviction, Tapp did not stop fighting to demonstrate his innocence. In the
 3
        decades after his conviction Tapp filed an appeal and multiple unsuccessful petitions for
 4
 5      post-conviction relief.

 6   126.   By the mid-2000s, Tapp had found an unlikely ally in his fight to prove his innocence:
 7
        Angie Dodge’s mother, Carol Dodge.
 8
     127.   Years after her daughter’s murder, Carol Dodge had decided to watch the tapes of Tapp’s
 9
10      polygraphs and interrogations. And despite her belief at the time of Tapp’s trial—based on

11      misrepresentations by Defendants—that Tapp was guilty, watching those tapes in their
12      entirety, combined with the exculpatory results of DNA testing, convinced her of Tapp’s
13
        innocence. Carol Dodge then became one of Tapp’s fiercest advocates.
14
     128.   Carol Dodge, in coordination with Tapp’s criminal defense attorney, John Thomas,
15
16      reached out to experts in false confessions and polygraphs about Tapp’s case.

17   129.   In 2012, Carol Dodge began to correspond with Retired Judge Michael Heavey of Judges
18
        for Justice.
19
     130.   Judge Heavey investigated the case and enlisted the help of leading experts with long and
20
        distinguished careers at the FBI in crime scene investigation, proper interrogation practices,
21
22      and the science and application of polygraphs.

23   131.   Together, Tapp, Carol Dodge, Judge Heavey fought to demonstrate Tapp’s innocence.
24
                       Defendants refuse to conduct additional investigation that would
25                                   have exonerated Tapp years earlier
26   132.   In 2001, post-conviction DNA testing of the semen found on Dodge’s left leg had

27      identified a partial profile of the then-unknown man who raped and murdered Dodge. That
28

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        profile was entered into the FBI’s Combined DNA Index System (“CODIS”) system, but
 1
 2      returned no match.

 3   133.   In 2008, after years of urging by Tapp’s attorneys, including the Idaho Innocence Project,
 4
        and the victim’s mother, additional DNA testing on the hairs found at the crime scene
 5
        determined that the hairs were consistent with the profile developed in 2001. That new, more
 6
 7      complete profile was again entered into the CODIS system, but again returned no match.

 8   134.   In 2009, the Idaho Innocence Project sent a letter to Defendant Steve Roos, the then-
 9      IFPD Chief of Police, explaining that a new technique called Familial, or low stringency,
10
        searching permitted law enforcement to compare DNA profiles to databases and identify
11
        possible relatives of a perpetrator. Because this technique could identify not only the exact
12
13      match, but also the family members of a match, it was more comprehensive than the FBI’s

14      CODIS system.
15   135.   The Idaho Innocence Project’s letter also explained that, while Idaho did not yet use this
16
        technique, the Innocence Project had contacted Colorado and California, and that those states
17
        were happy to help the IFPD run the samples taken from the crime scene and attempt to
18
19      locate the as-yet unidentified source of the semen and hair found on Dodge’s body, so long

20      as the IFPD made the request. That letter even included a template email for Defendants to
21
        send, contact information for the appropriate people and entities in California and Colorado,
22
        a form with mailing instructions for the laboratory, and a list of the requirements for the use
23
24      of California’s database.

25   136.   Despite being handed this easy, straightforward, and obvious investigative step on a
26      silver platter, Defendants, including but not limited to Roos, Fuhriman, Finn, Brown, Stacey,
27
        and/or Grimes, failed to act. On information and belief, based on Defendants’ false
28

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        representations about the evidence, the Idaho State Police denied the request to compare the
 1
 2      samples taken from the crime scene to the California and Colorado databases.

 3   137.    The true murderer, Brian Dripps, lived in California after murdering Dodge, and had
 4
        multiple children there.
 5
     138.    On information and belief, had Defendants, including Roos, sent the samples to the
 6
 7      California and Colorado databases for low stringency testing, the true perpetrator, Dripps,

 8      would have been identified and Tapp would have been exonerated nearly a decade earlier. As
 9      a result of their refusal to conduct this simple investigatory act, Tapp continued to languish in
10
        prison for nearly another decade for a crime he did not commit.
11
            New evidence confirms Tapp’s innocence—and Defendants do nothing to free him
12
13   139.    In September 2012, IFPD sent samples taken from Dodge’s shirt and pants and a teddy

14      bear from the crime scene to a DNA testing laboratory for additional, more advanced, DNA
15      testing. In early 2013, Defendants received the report from that additional DNA testing. That
16
        testing compared those samples to Tapp and Hobbs’ DNA and excluded both men as the
17
        source of the DNA found on the shirt, pants, and teddy bear. In other words, the results of the
18
19      2013 testing again conclusively excluded Tapp and Hobbs as the perpetrators.

20   140.    But, as part of that 2012–2013 testing, Defendants refused to conduct Y-STR testing on
21
        the original semen samples taken from Dodge’s body, and so prevented the laboratory from
22
        creating a full Y paternal “profile” of the true perpetrator.
23
24   141.    Defendants’ theory by the time of Tapp’s final false confession, and the theory presented

25      at trial, was that Tapp’s role in the crime was assisting Hobbs as Hobbs raped Dodge. As a
26      result, when the 2013 testing concluded that Hobbs and Tapp were excluded as the source of
27
28

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        any and all DNA found at the scene, Defendants knew or should have known that their
 1
 2      theory of the case was wrong, and that Tapp was actually innocent.

 3   142.   But, yet again, rather than acknowledge Tapp’s innocence, Defendants, including but not
 4
        limited to, on information and belief, Fuhriman, Finn, Brown, Stacey, Grimes, Livsey, and/or
 5
        Roos, instead worked to keep Tapp wrongfully convicted and incarcerated.
 6
 7   143.   In 2013, Judge Heavey, together with Carol Dodge and John Thomas, enlisted the help of

 8      Steven Drizin, a professor at Northwestern University and one of the nation’s leading experts
 9      in false confessions, to review the tapes and offer an opinion. Dr. Drizin produced a report on
10
        Defendants’ interrogations of Tapp. That report examined at length the extraordinarily
11
        coercive behavior of the police and concluded that there was absolutely no evidence that
12
13      Tapp was at the crime scene or that he participated in in the murder. Indeed, Dr. Drizin

14      concluded: “The one certainty that emerges from the police investigation is that the rapist and
15      murderer of Angie Dodge is still on the loose.”
16
     144.   Heavey, Carol Dodge, and Thomas also enlisted the help of a leading FBI expert in
17
        police practices, Gregg O. McCrary, who produced a report which determined that
18
19      Defendants had “manipulated Mr. Tapp through a series of explicit threats and promises,

20      used false evidence ploys, asked a host of leading questions and continually contaminated the
21
        interrogation by disclosing nonpublic details of the crime and crime scene.” He concluded
22
        that “[t]his is a false confession.”
23
24   145.   On May 1, 2013, Tapp’s second Petition for Post-Conviction Relief was dismissed.

25      Because of Defendants’ determination to ignore evidence of Tapp’s innocence and refusal to
26      pursue evidence that might lead to the identification of the true murderer, Tapp remained
27
        wrongfully imprisoned for a crime he did not commit.
28

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            While Tapp is fighting to prove his innocence, Defendants smear Tapp in the press
 1
 2   146.    Even after multiple rounds of DNA testing had excluded Tapp as the perpetrator and

 3      numerous experts had determined that Tapp’s confessions were false, Defendants continued
 4
        to publicly and falsely claim that Tapp was guilty.
 5
     147.    In 2012, Fuhriman—then the Mayor of Idaho Falls—gave an interview to NBC Dateline,
 6
 7      in which he lied and said that Tapp had provided non-public information that was “absolutely

 8      … not fed,” and that there were “no doubts” in Fuhriman’s mind that “Tapp is part of the
 9      homicide itself.”
10
     148.    In 2016, the Idaho Falls Police Department again falsely indicated to the press that Tapp
11
        was guilty.
12
13               New advanced testing identifies the DNA profile of the true perpetrator
                                and again conclusively excludes Tapp
14
     149.    In 2014, a profile obtained from some, but not all, the semen taken from the crime scene
15
16      was at last compared against a database operated by the Sorenson Molecular Genealogy

17      Foundation and Ancestry.com. That testing identified the family tree of the true perpetrator.
18
     150.    Over the next two years, Idaho Falls investigators attempted to trace this family line of
19
        the true perpetrator, but were unable to identify him.
20
     151.    In 2016, Idaho Falls investigators finally allowed the Sorenson Molecular Genealogy
21
22      Foundation to conduct Y testing of the DNA taken from the semen samples from Dodge’s

23      body and clothes, thus allowing for a complete Y DNA profile of all the perpetrator DNA
24
        found at the crime scene. This testing once again identified the profile of a single
25
        perpetrator—and conclusively excluded Tapp.
26
27
28

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     152.    This result yet again confirmed what Defendants knew or should have known all along:
 1
 2      Only one person was responsible for the rape and murder of Angie Dodge, and that person

 3      was not Chris Tapp.
 4
            The State finally agrees to release Tapp from prison—but refuses to exonerate him
 5
     153.    In 2017, faced with the totality of the evidence that Tapp and his defense attorneys had
 6
 7      assembled since his conviction demonstrating that Tapp was not the perpetrator, the State

 8      finally agreed to release Tapp from prison.
 9   154.    But despite the evidence of Tapp’s innocence—Tapp’s DNA did not match the DNA
10
        profile of the perpetrator and multiple experts had determined that Tapp’s confession was
11
        coerced and false—the City refused to exonerate Tapp.
12
13   155.    Instead, the City offered Tapp a Hobson’s choice: it offered to dismiss and vacate Tapp’s

14      rape conviction and consent to release Tapp from prison, but leave Tapp’s wrongful murder
15      conviction standing.
16
     156.    Faced with such a choice, after having spent decades wrongfully imprisoned, Tapp
17
        agreed. On March 22, 2017, the court entered an order amending Tapp’s conviction,
18
19      dismissing his rape charge, and ordering Tapp released from prison.

20                   New DNA testing identifies the true perpetrator as Brian Dripps
21
     157.    In the spring of 2017, Idaho Falls investigators submitted a portion of the semen sample
22
        for genetic genealogy testing. Once the expansive DNA profile was revealed, a genealogy
23
24      laboratory used an ancestry database to identify third cousins of the unidentified source of the

25      semen sample. The genealogist constructed a family tree from the third cousins and
26      eventually identified the most likely source of the semen: Brian Dripps. Investigators realized
27
        that Dripps had resided across the street from Angie Dodge at the time of the murder.
28

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     158.    Investigators surreptitiously collected a cigarette butt that Dripps discarded and tested
 1
 2      that cigarette for DNA. The profile from the cigarette matched the DNA from the semen and

 3      hair found on Dodge’s body.
 4
     159.    On May 15, 2019, Dripps was brought in for questioning about Dodge’s murder. He
 5
        admitted his guilt, explained that he had acted alone, and acknowledged that he did not know
 6
 7      Tapp.

 8   160.    On May 16, 2019, the IFPD held a press conference in which they announced that they
 9      had identified Dripps as the source of all the suspect DNA, including the semen, found at the
10
        murder of Angie Dodge and that Dripps was being charged with the rape and murder of
11
        Dodge.
12
13   161.    The IFPD spent the next eight weeks investigating and successfully verifying Dripps’s

14      admission that he acted alone. Dripps is currently awaiting trial for the rape and murder.
15   162.    Because of Defendants’ misconduct, not only did Tapp spend more than two decades
16
        wrongfully convicted, but the true murderer remained free to commit other crimes for over
17
        twenty years. Nor has there been, on information and belief, any serious attempt to determine
18
19      whether Dripps committed other violent felonies since he raped and murdered Dodge in

20      1996.
21
            Destiny Osborne admits that her testimony against Tapp was false and the result of
22                              Defendants’ coercion and misconduct

23   163.    While Tapp continued to struggle to demonstrate his innocence from prison, Destiny

24      Osborne, the teenager whom Defendants had coerced into testifying against Tapp, finally
25
        admitted the truth.
26
27
28

                                                      32
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     164.   In 2017, Osborne admitted to Carol Dodge that her trial testimony against Tapp had been
 1
 2      false. She admitted that the story was entirely fabricated by Defendants and that she had only

 3      testified against Tapp because of Defendants’ coercion.
 4
     165.   Later, Osborne confirmed this story in an interview with the Idaho Falls Post Register,
 5
        telling the newspaper that she was “manipulated and coerced and fed a huge story and
 6
 7      threatened 23 years ago . . . to falsely testify against Chris Tapp.” She told the Post Register

 8      that she was “literally … fed what [she] did say.”
 9                                       Tapp is at last exonerated
10
     166.   Only after the true perpetrator, Dripps, had been arrested and confessed to raping and
11
        murdering Angie Dodge did the authorities agree to vacate and dismiss Tapp’s wrongful
12
13      murder conviction.

14   167.   On July 17, 2019, more than twenty-two years after Tapp was wrongfully arrested for a
15      murder he did not commit, the Seventh Judicial District of Idaho Falls, County of Bonneville
16
        vacated and dismissed the remaining charges against Tapp. Upon doing so, Judge Alan
17
        Stephens stated, “[a]s far as this court is concerned, you are innocent of the convictions you
18
19      have been living under for the past 20-plus years. I don’t think any of us could imagine what

20      it would be like to experience imprisonment for something we didn’t do . . . I’m just glad it
21
        could be corrected at this time.”
22
                                                DAMAGES
23
24   168.   Christopher Tapp spent more than twenty years incarcerated and twenty-two years

25      wrongfully convicted for a horrific crime he did not commit. He must now attempt to make a
26      life for himself without the benefit of those life experiences and resources that normally
27
        equip adults for that task.
28

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     169.   As a direct result of Defendants’ intentional, bad faith, willful, wanton, reckless, grossly
 1
 2      negligent, negligent, and/or deliberately indifferent acts and omissions, Tapp sustained

 3      injuries and damages including: loss of freedom for more than twenty years; physical pain
 4
        and suffering; severe mental anguish; emotional distress; loss of family relationships; severe
 5
        psychological damage; loss of property; legal expenses; loss of income and career
 6
 7      opportunities; humiliation, indignities, and embarrassment; degradation; permanent loss of

 8      natural psychological development; and restrictions on all forms of personal freedom
 9      including but not limited to diet, sleep, personal contact, educational opportunity, vocational
10
        opportunity, athletic opportunity, personal fulfillment, sexual activity, family relations,
11
        reading and other entertainment, travel, enjoyment, and expression, for which he is entitled to
12
13      monetary relief.

14   170.   Additionally, the emotional pain and suffering caused by losing those years has been
15      substantial. During his incarceration, Tapp was stripped of the various pleasures of basic
16
        human experience, from the simplest to the most important, which all free people enjoy as a
17
        matter of right. Tapp missed out on the ability to share holidays, births, funerals, and other
18
19      life events with loved ones, opportunities to fall in love, to marry, to have a family, and the

20      fundamental freedom to live one’s life as an autonomous human being.
21
     171.   Losing his liberty just as he was finishing his teens, Tapp was deprived of some of the
22
        most significant and meaningful parts of life: the opportunity to raise a family and to pursue a
23
24      career.

25   172.   Tapp also suffered uniquely from his lengthy wrongful incarceration and imprisonment.
26      From the very first days of his incarceration, Tapp faced unusual, and serious, harms and
27
        injuries. Because Tapp was unjustly and falsely labeled as a “sex offender,” he faced serious
28

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        threats in prison. In the spring or summer of 1997, Tapp was physically attacked by another
 1
 2      inmate and suffered injuries and bruising, including to his face. This was not an isolated

 3      incident; numerous times throughout his over twenty years of wrongful imprisonment—
 4
        indeed, nearly every year—Tapp suffered physical assaults.
 5
     173.   The injuries that Tapp suffered in prison did not stop at beatings. In 1998, he contracted
 6
 7      tuberculosis as a result of exposure to prison conditions. But despite that diagnosis, Tapp was

 8      denied treatment for years. Although Tapp continued to suffer from tuberculosis throughout
 9      the entirety of his wrongful incarceration, he only received treatment for that illness once, in
10
        2001, despite testing positive for tuberculosis repeatedly.
11
     174.   In 2006, Tapp seriously injured his knee while doing work at the prison due to inadequate
12
13      safety precautions. That injury causes Tapp to limp, and affects his quality of life, to this day.

14   175.   In 2006, Tapp suffered another sustained injury when a block of bleach exploded near
15      him, melting his shoe and seriously burning his foot.
16
     176.   In 2006, Tapp contracted pneumonia due to exposure from prison conditions. For over
17
        two weeks, Tapp suffered and grew sicker until he was too weak to get up or eat. Only after
18
19      fifteen days, when Tapp could barely move, did prison officials finally provide Tapp with

20      any treatment. This discrete injury has left Tapp with residual damage to his lungs.
21
     177.   As a result of substandard dental care in prison, Tapp developed severe periodontitis and
22
        lost numerous teeth. Instead of providing proper treatment, the prison dentist simply
23
24      extracted Tapp’s teeth, including in 2002, 2005, 2007, and 2009. The prison refused to give

25      him implants or dentures. As a result of missing teeth, Tapp cannot eat many regular foods.
26      The loss of teeth has also caused him to be ashamed of his appearance and has had a dramatic
27
        negative affect on his social life.
28

                                                     35
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     178.     Beginning in about 2010, Tapp also suffered hearing loss as a result of the constant,
 1
 2      heightened noise he experienced in prison.

 3   179.     Tapp also suffered from severe mental health illnesses as a result of his wrongful
 4
        imprisonment. In 2015, he was diagnosed with major depressive disorder diagnosis.
 5
     180.     While in prison, his father passed away. Tapp was unable to attend his funeral. Tapp’s
 6
 7      mother was forced to remortgage the family home to pay for her son’s legal fees.

 8   181.     Tapp continues to suffer as a direct result of his wrongful conviction and incarceration.
 9   182.     Even if the City of Idaho falls and/or individual Defendants may not have expected or
10
        intended to wrongfully imprison an innocent man or cause these grave injuries, Defendants
11
        are nonetheless legally responsible under 42 U.S.C. § 1983 because these injuries are the
12
13      foreseeable result of the Defendants’ recklessness, negligence, or deliberate indifference to

14      Tapp’s rights; their policies and procedures; and their failure to train and supervise their
15      employees.
16
                                             FEDERAL CLAIMS
17
18                                                 COUNT I
19          42 U.S.C. § 1983 claim for Deprivation of Liberty Without Due Process of Law and
            Violation of Right to a Fair Trial, Under the Fourteenth Amendment, based on the
20                        fabrication of false evidence, including false confessions
21                   Against Defendants Fuhriman, Finn, Grimes, Brown, and Stacey
22   183.     Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
23
        herein, and further alleges as follows:
24
     184.     Defendants Fuhriman, Finn, Grimes, Brown, and Stacey fabricated false evidence of
25
26      Tapp’s guilt, thereby violating Tapp’s right to a fair trial and causing him to be deprived of

27      his liberty without due process of law.
28

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     185.   As described in greater detail above, Defendants fabricated evidence in a number of ways
 1
 2      prior to trial, and they did so knowingly or in reckless disregard for the truth. That fabricated

 3      evidence was used to arrest Tapp, to prosecute him, and was the basis for the jury’s guilty
 4
        verdict.
 5
     186.   Defendants, individually and in concert, falsely reported that Tapp had volunteered non-
 6
 7      public information only the true perpetrator would know, when in fact Defendants had fed

 8      that information to Tapp.
 9   187.   Defendants, individually and in concert, used investigative techniques that were so
10
        coercive and abusive that they knew or should have known that those techniques would yield
11
        false information. For example, and without limitation, Defendants used manipulative
12
13      polygraph examinations, threats, lies, and false promises in order to coerce five false

14      confessions from Tapp.
15   188.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey, while acting under
16
        color of law, ignored evidence pointing to the true perpetrator, Brian Dripps, and/or failed to
17
        follow up on such evidence, thereby conducting a constitutionally inadequate investigation in
18
19      violation of Tapp’s Fourteenth Amendment Due Process right to a fair trial.

20   189.   Defendants, individually and in concert, deliberately fabricated the witness statement of
21
        Osborne through coercion, manipulation, and threats.
22
     190.   Defendants, individually and in concert, continued their investigation of Tapp despite the
23
24      fact that they knew or should have known that he was innocent based on the evidence

25      collected from the crime scene.
26   191.   Evidence of Defendants’ misconduct could have been used to undermine key evidence
27
        relied on by Defendants in this investigation. Had it been disclosed, it could have been used
28

                                                     37
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        at trial to impeach Defendants and witnesses at trial as well as the quality of the entire
 1
 2      investigation.

 3   192.   Defendants’ actions, individually and cumulatively, played a direct and decisive role in
 4
        the jury’s guilty verdict and were highly prejudicial to Tapp’s defense. Had Defendants not
 5
        engaged in such misconduct or had their misconduct been disclosed, the evidence would
 6
 7      have tended to prove Tapp’s innocence, cast doubt on the entire police investigation and

 8      prosecution, and most likely would have created a different result at trial.
 9   193.   The foregoing acts and omissions were deliberate, reckless, wanton, cruel, motivated by
10
        evil motive or intent, done in bad faith, and/or involved callous indifference to Tapp’s
11
        federally protected rights. These acts were perpetrated while Defendants were acting under
12
13      color of state law and in their capacities as employees or agents of the City of Idaho Falls.

14   194.   As a direct and proximate result of Defendants’ actions, Tapp was wrongly arrested,
15      detained, charged with murder, prosecuted, convicted, sentenced to life in prison,
16
        incarcerated for over twenty years, wrongfully convicted for over twenty-one years, and
17
        suffered the other grievous injuries and damages set forth above.
18
19                                                COUNT II

20       42 U.S.C. § 1983 claim for Deprivation of Liberty Without Due Process of Law and
     Violation of Right to a Fair Trial, Under the Fourteenth Amendment, based on withholding
21                     exculpatory evidence from the prosecution and defense
22             Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey
23   195.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
24      herein, and further alleges as follows:
25
     196.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey withheld exculpatory
26
        evidence from the prosecution and defense, thereby violating the Constitution and Brady v.
27
28      Maryland, 373 U.S. 83 (1963), and its progeny.

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     197.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey, individually and in
 1
 2      concert, in an effort to secure Tapp’s conviction without regard to his actual innocence,

 3      deliberately and in bad faith deprived Tapp of his Due Process rights.
 4
     198.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey, individually and in
 5
        concert, in an effort to secure Tapp’s conviction without regard to his actual innocence,
 6
 7      intentionally suppressed material, exculpatory and impeachment information from Tapp, his

 8      defense counsel, and the prosecution in violation of the Constitution and Brady v. Maryland,
 9      including without limitation failing to disclose the true circumstances of Destiny Osborne’s
10
        statements, and failing to disclose information pointing to other suspects, including true
11
        perpetrator Dripps.
12
13   199.   Evidence of Defendants’ misconduct could have been used to undermine key evidence

14      relied on by Defendants in this investigation. Had it been disclosed, it could have been used
15      at trial to impeach Defendants and witnesses as well as the quality of the entire investigation.
16
     200.   Defendants’ actions, individually and cumulatively, played a direct and decisive role in
17
        the jury’s guilty verdict and were highly prejudicial to Tapp’s defense. Had Defendants not
18
19      engaged in such misconduct or had their misconduct been disclosed, the evidence would

20      have tended to prove Tapp’s innocence, cast doubt on the entire police investigation and
21
        prosecution, and most likely would have created a different result at trial.
22
     201.   The foregoing acts and omissions were deliberate, reckless, wanton, cruel, motivated by
23
24      evil motive or intent, done in bad faith, and/or involved callous indifference to Tapp’s

25      federally protected rights. These acts were perpetrated while Defendants were acting under
26      color of state law and in their capacities as employees or agents of the City of Idaho Falls.
27
28

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     202.   As a direct and proximate result of Defendants’ actions, Tapp was wrongly arrested,
 1
 2      detained, charged with murder, prosecuted, convicted, sentenced to life in prison,

 3      incarcerated for over twenty years, wrongfully convicted for over twenty-one years, and
 4
        suffered the other grievous injuries and damages set forth above.
 5
                                                  COUNT III
 6
 7   42 U.S.C. § 1983 Claim for Post-Trial Deprivation of Liberty Without Due Process of Law
                                Under the Fourteenth Amendment
 8         Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos
 9   203.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth

10      herein, and further alleges as follows:
11
     204.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos, individually and
12
        in concert, in an effort to preserve Tapp’s conviction without regard to his actual innocence,
13
14      intentionally or with deliberate indifference and in bad faith refused to take steps that they

15      knew or should have known could have produced evidence of Tapp’s innocence, in violation
16      of the Constitution. For example, and without limitation, Defendants knew as of no later than
17
        2009 that comparing the DNA profiles obtained from testing done from materials taken from
18
        the crime scene could have identified the true perpetrator.
19
20   205.   Had Defendants run this profile through the familial search databases of California and

21      Colorado, on information and belief, the true perpetrator would have been identified over a
22
        decade earlier, and Tapp would have been released up to eight years earlier.
23
     206.   Tapp had a liberty interest in proving his innocence, including through newly discovered
24
        exculpatory evidence.
25
26   207.   The foregoing acts and omissions were deliberate, reckless, wanton, cruel, motivated by

27      evil motive or intent, done in bad faith, and/or involved callous indifference to Tapp’s
28

                                                     40
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        federally protected rights. These acts were perpetrated while Defendants were acting under
 1
 2      color of state law and in their capacities as employees or agents of the IFPD.

 3   208.   As a direct and proximate result of Defendants’ misconduct, Tapp’s incarceration was
 4
        wrongfully extended, and Tapp continued to suffer all of the grievous injuries and damages
 5
        set forth above.
 6
 7                                                COUNT IV

 8          42 U.S.C. § 1983 Claim for Malicious Prosecution and Violation of the Fourth and
                                        Fourteenth Amendments
 9
               Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey
10
     209.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
11
        herein, and further alleges as follows:
12
13   210.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey caused criminal

14      proceedings to be brought against Tapp without probable cause and without any reasonable
15
        belief in guilt. Tapp is completely innocent of the rape and murder of Angie Dodge. As
16
        Defendants knew, the sole basis for the criminal action against Tapp was the false evidence
17
18      that Defendants fabricated, while forensic evidence (including DNA) exculpated him. No

19      reasonable officer in 1996 would have believed that fabricated evidence provided probable
20      cause to arrest, and no reasonable officer in 1996 would have believed that an arrest and
21
        prosecution without probable cause was justified.
22
     211.   Defendants also continued the prosecution against Tapp on the basis of this false and
23
24      fabricated inculpatory evidence and suppressed material exculpatory evidence, thereby

25      subjecting Tapp to ongoing seizure in violation of the Fourth and Fourteenth Amendments.
26
     212.   The criminal proceedings against Tapp were initiated with malice. Defendants Fuhriman,
27
        Finn, Grimes, Brown, Stacey, and Livsey caused the charges against Tapp to be filed by
28

                                                     41
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        knowingly providing the prosecution misinformation, concealing exculpatory evidence, and
 1
 2      otherwise engaging in wrongful and bad faith conduct that caused the initiation of the legal

 3      proceedings against Tapp when they knew there was no probable cause.
 4
     213.   Defendants initiated the action against Tapp for the purpose of denying Tapp’s
 5
        constitutional rights, including his right to be free from unreasonable seizure, and his right to
 6
 7      not be deprived of liberty without due process of law.

 8   214.   As a direct and proximate result of Defendants Fuhriman, Finn, Grimes, Brown, Stacey,
 9      and Livsey’s actions, Tapp was wrongly arrested, detained, charged with rape and murder,
10
        prosecuted, convicted, sentenced to life in prison plus fifteen years and a fixed term of thirty
11
        years on the murder conviction and a term of twenty years with a fixed term of ten years on
12
13      the rape conviction and suffered the other grievous injuries and damages set forth above.

14   215.   The criminal proceedings against Tapp terminated in his favor.
15   216.   On March 22, 2017, the District Court of the Seventh Judicial District of the State of
16
        Idaho entered an order amending Tapp’s conviction, dismissing his rape charge, and vacating
17
        his sentence for that charge. This Order left Tapp’s first-degree murder conviction in effect.
18
19   217.   After a hearing on July 17, 2019, the District Court of the Seventh Judicial District of the

20      State of Idaho, In and For the County of Bonneville, issued an Order on July 25, 2019,
21
        vacating and dismissing Tapp’s murder conviction based on actual innocence. On August 12,
22
        2019, Tapp’s criminal case, CR-1997-481, was dismissed pursuant to the ruling dismissing
23
24      Tapp’s murder conviction based on actual innocence.

25                                              COUNT V
26   42 U.S.C. § 1983 Claim for Violation of the Right Against Self-Incrimination in Violation of
27                             the Fifth and Fourteenth Amendment

28                 Against Defendants Fuhriman, Finn, Grimes, Brown, and Stacey

                                                     42
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     218.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
 1
 2      herein, and further alleges as follows:

 3   219.   Although Tapp had nothing to do with Dodge’s murder, Defendants repeatedly
 4
        threatened, manipulated, and lied to Tapp in order to coerce five false and fabricated
 5
        confessions from him in violation of his Fifth and Fourteenth Amendment rights.
 6
 7   220.   In particular, as described in detail above, the circumstances of Tapp’s interrogation were

 8      highly coercive, including but not limited to the following:
 9             a. Defendants Fuhriman, Finn, Grimes, Brown, and Stacey, individually and in
10
                   concert, threatened Tapp, who was susceptible to suggestion, including with the
11
                   death penalty.
12
13             b. Defendants Fuhriman, Finn, Grimes, Brown, and Stacey, individually and in

14                 concert, falsely promised that Tapp would be released without charges and
15                 granted leniency if he gave the false confessions that Defendants wanted him to
16
                   give.
17
               c. Defendants Fuhriman, Finn, Grimes, Brown, and Stacey, individually and in
18
19                 concert, repeatedly used polygraphs to attempt to convince Tapp that his

20                 memories were wrong and that he had been involved in the crime.
21
     221.   These coercive interrogation techniques shock the conscience and violate the decencies
22
        of civilized conduct. By interrogating Tapp in this manner and doing nothing subsequent to
23
24      stop the violation, Defendants set in motion a series of acts by others which they knew or

25      reasonably should have known would cause these statements to be used against Tapp at trial,
26      thereby inflicting constitutional injury.
27
28

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     222.   As a direct and proximate result of Defendants’ actions, Tapp was wrongly arrested,
 1
 2      detained, charged with murder, prosecuted, convicted, and sentenced to life in prison plus 15

 3      years and a fixed term of 30 years on the murder conviction and a term of 20 years with a
 4
        fixed term of 10 years on the rape conviction.
 5
                                                  COUNT VI
 6
 7                          42 U.S.C. § 1983 Civil Rights Conspiracy Claim

 8             Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey
 9   223.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth

10      herein, and further alleges as follows:
11
     224.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey, and others yet
12
        unknown, including without limitation individuals outside of the IFPD, agreed among
13
14      themselves to act in concert to deprive Tapp of his clearly established constitutional rights as

15      protected by the Fourth, Fifth, and Fourteenth Amendments, including his right not to be
16      deprived of liberty without due process of law and be free from illegal seizure.
17
     225.   As described in detail above, in furtherance of the conspiracy, Defendants engaged in and
18
        facilitated numerous overt acts in furtherance of the conspiracy, including but not limited to
19
20      the following:

21             a. Acting in concert to suggest, coerce, and fabricate Tapp’s five false confessions;
22
               b. Acting in concert to conceal that Tapp’s confessions were false, fabricated, and
23
                   otherwise tainted;
24
               c. Acting in concert to suggest, coerce, and/or fabricate inculpatory statements from
25
26                 Destiny Osborne; and

27
28

                                                     44
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               d. Acting in concert to conceal that Osborne’s statement was false, fabricated, and
 1
 2                 otherwise tainted;

 3             e. Prior and subsequent to Tapp’s arrest, charging, and indictment, deliberately
 4
                   ignoring and/or recklessly failing to investigate evidence of Tapp’s innocence.
 5
     226.   As a direct and proximate result of Defendants’ overt acts, Tapp was deprived of his
 6
 7      constitutional rights; wrongly prosecuted, detained, and incarcerated for over twenty years;

 8      and subjected to other grievous injuries and damages as set forth above.
 9                                                COUNT VII
10
                              42 U.S.C. § 1983 Supervisory Liability Claim
11
                                   Against Defendants Livsey and Roos
12
13   227.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth

14      herein, and further alleges as follows:
15   228.   Tapp’s wrongful arrest, confinement, prosecution, trial, conviction, and incarceration was
16
        caused by the unconstitutional action and inaction of Defendant Livsey acting in his
17
        individual capacity and under color of law.
18
19   229.   Upon information and belief, Defendant Livsey directly participated in the misconduct

20      that resulted in Tapp’s wrongful conviction, including but not limited to directing or
21
        permitting Defendants Fuhriman, Finn, Grimes, Brown, and Stacey to coerce false and
22
        fabricated statements from Tapp.
23
24   230.   Upon information and belief, Defendant Livsey was personally aware of the misconduct

25      engaged in by his subordinate officers, who were under his direct supervision and given the
26      small size of the IFPD and the high-profile nature of the investigation into the murder of
27
        Angie Dodge. Defendant Livsey’s misconduct included but was not limited to the following:
28

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               a. Defendant Livsey knowingly refused to come forward with information that
 1
 2                 would have terminated the wrongful prosecution of Tapp, which, upon

 3                 information and belief, he knew or should have known had been initiated based
 4
                   on the coerced, fabricated confession of Tapp and the coerced and fabricated
 5
                   statement of Osborne, as well as in spite of suppressed exculpatory information.
 6
 7                 As a result, Livsey knew or reasonably should have known that Tapp’s

 8                 constitutional rights to be free from unreasonable seizure and not to be deprived
 9                 of liberty without due process of law would be violated.
10
               b. Defendant Livsey culpably failed to adequately train, supervise, and/or control his
11
                   subordinates, who obtained coerced, fabricated, or suggested identifications, and
12
13                 suppressed exculpatory information.

14             c. Defendant Livsey violated Tapp’s constitutional rights by acquiescing in the
15                 deprivation of Tapp’s constitutional rights by his subordinates, and by generally
16
                   showing a reckless or callous indifference to Tapp’s rights, including but not
17
                   limited to Tapp’s rights to be free of unconstitutional interrogation methods.
18
19             d. Defendant Livsey’s failure to train, supervise, and/or control his subordinates, his

20                 indifference to the actions of his subordinates, and his indifference to Tapp’s
21
                   rights, encouraged and permitted his subordinates to fabricate evidence and to fail
22
                   to document and disclose exculpatory evidence.
23
24   231.   Upon information and belief, Defendant Roos was personally aware of the misconduct

25      engaged in by his subordinate officers, who were under his direct supervision and given the
26      small size of the IFPD and the high-profile nature of the investigation into the murder of
27
        Angie Dodge. Defendant Roos’s misconduct included but was not limited to the following:
28

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               a. Upon information and belief, Defendant Roos was aware of and/or participated in
 1
 2                 the decisions to deny and delay post-conviction DNA testing and analysis that

 3                 would have identified the true perpetrator, and thus led to Tapp’s exoneration,
 4
                   years earlier.
 5
               b. Upon information and belief, Defendant Roos violated Tapp’s constitutional
 6
 7                 rights by acquiescing in the deprivation of Tapp’s constitutional rights by his

 8                 subordinates, and by generally showing a reckless or callous indifference to
 9                 Tapp’s rights, including but not limited to Tapp’s rights to receive post-conviction
10
                   exculpatory evidence.
11
     232.   The actions and omissions of Defendants Livsey and Roos, in their individual capacities,
12
13      caused Tapp to suffer the constitutional deprivations and grievous personal injuries and

14      damages described above.
15                                                COUNT VIII
16
                                    42 U.S.C. § 1983 Failure to Intervene
17
               Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey
18
19   233.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth

20      herein, and further alleges as follows:
21
     234.   By their conduct and under color of state law, Defendants, acting within the scope of
22
        their employment, had opportunities to intervene on behalf of Tapp to prevent his malicious
23
24      prosecution and deprivation of liberty without due process of law, but with deliberate

25      indifference declined to do so. No reasonable officer in 1996 would have believed this
26      conduct was lawful. Defendants’ failures included but are not limited to:
27
28

                                                      47
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               a. Failing to intervene to prevent or stop the pressure, threats, manipulation, and
 1
 2                 coercion of false and fabricated confessions by Tapp;

 3             b. Failing to intervene to prevent or stop the pressure, threats, manipulation, and
 4
                   coercion of a false and fabricated witness statement by Osborne;
 5
               c. Failing to intervene to inform the prosecution, court, and defense that other
 6
 7                 officers were presenting fabricated evidence in Tapp’s prosecution; and

 8             d. Failing to intervene to prevent the withholding or concealing of exculpatory
 9                 evidence from the prosecution and defense.
10
     235.   Defendants’ failures to intervene violated Tapp’s clearly established constitutional right
11
        not to be deprived of liberty without due process of law as guaranteed by the Fourth and
12
13      Fourteenth Amendments. No reasonable police officer in 1996 would have believed that

14      failing to intervene to prevent Defendants from fabricating inculpatory evidence, concealing
15      and withholding exculpatory evidence, or causing Tapp to be arrested and prosecuted without
16
        probable cause, were lawful.
17
     236.   Defendants’ acts and omissions, as described in the preceding paragraphs, were the direct
18
19      and proximate cause of Tapp’s injuries. Defendants knew, or should have known, that their

20      conduct would result in Tapp’s wrongful arrest, prosecution, conviction, and incarceration.
21
     237.   The actions and omissions of Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and
22
        Livsey, in their individual capacities, caused Tapp to be wrongly arrested, detained, charged
23
24      with rape and murder, prosecuted, convicted, sentenced, and incarcerated for over twenty

25      years. As a result, Tapp suffered the constitutional deprivations and grievous personal
26      injuries and damages described above.
27
28

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                                                  Count IX
 1
 2             42 U.S.C. § 1983 Monell Claim for Direct Involvement of Policymakers

 3                              Against Defendant the City of Idaho Falls
 4
     238.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
 5
        herein, and further alleges as follows:
 6
 7   239.   Defendant the City of Idaho Falls was at all times relevant to this Complaint responsible

 8      for the policies, practices, and customs of the Idaho Falls Police Department.
 9   240.   Defendant the City of Idaho Falls created and maintained a custom, policy and/or practice
10
        of unconstitutional misconduct in homicide investigations, including but not limited to the
11
        encouragement and use of, and reliance on, suggestive and/or coercive techniques during
12
13      interviews and interrogations to obtain false statements and confessions, and/or witness

14      statements that law enforcement knew or should have known were false, the fabrication of
15      inculpatory evidence, the suppression of exculpatory and/or impeachment evidence, and the
16
        intentional failure to conduct adequate investigations of crimes.
17
     241.   Upon information and belief, Defendant Livsey, as the chief policymaker for the City of
18
19      Idaho Falls and the Idaho Falls Police Department, was personally aware of the misconduct

20      engaged in by his subordinate officers, who were under his direct supervision, given the
21
        small size of the IFPD and the high-profile nature of the investigation into the murder of
22
        Angie Dodge.
23
24   242.   On information and belief, Defendant Livsey, the Chief of Police and relevant

25      policymaker for the Idaho Falls Police Department and the City of Idaho Falls, was directly
26      aware of and/or participated in that misconduct and failed to train, discipline, or supervise his
27
        subordinate to prevent or ameliorate that misconduct.
28

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     243.   In addition, the City of Idaho Falls created and maintained a custom, policy and/or
 1
 2      practice of unconstitutional misconduct of failing to take basic investigatory steps post-

 3      conviction when doing so would be likely to yield evidence that a person had been
 4
        wrongfully convicted.
 5
     244.   On information and belief, Defendant Roos, as Chief of Police, and Defendant Fuhriman,
 6
 7      as mayor of Idaho Falls, as the chief policymakers for the City of Idaho Falls and the Idaho

 8      Falls Police Department, were directly aware of and/or participated in that misconduct and
 9      failed to train, discipline, or supervise his subordinate to prevent or ameliorate that
10
        misconduct.
11
     245.   Tapp’s wrongful arrest, confinement, prosecution, trial, conviction, incarceration, and
12
13      other injuries as set forth above were caused by the unconstitutional policies, practices, and

14      customs of the City of Idaho Falls.
15                                                COUNT X
16          42 U.S.C. § 1983 Monell Claim Failure to Train, Supervise, or Discipline in
17    Constitutionally Adequate Investigation Techniques, Interrogation Procedures, or Brady
                                              duties
18                           Against Defendant the City of Idaho Falls
19   246.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
20
        herein, and further alleges as follows:
21
     247.   Defendant the City of Idaho Falls was at all times relevant to this Complaint responsible
22
23      for the policies, practices, and customs of the Idaho Falls Police Department.

24   248.   Defendant the City of Idaho Falls created and maintained a custom, policy and/or practice
25
        of unconstitutional misconduct in homicide investigations, including but not limited to the
26
        encouragement and use of, and reliance on, suggestive and/or coercive techniques during
27
        interviews and interrogations to obtain false confessions and statements, and/or witness
28

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        statements that law enforcement knew or should have known were false, the fabrication of
 1
 2      inculpatory evidence, the suppression of exculpatory and/or impeachment evidence, and the

 3      intentional failure to conduct adequate investigations of crimes.
 4
     249.   The City of Idaho Falls, by and through its policymakers, created and maintained a
 5
        custom, policy, or practice of failing to train, supervise, or discipline its employees and
 6
 7      agents, including Defendants, regarding constitutionally proper investigation procedures,

 8      including but not limited to interrogation procedures.
 9   250.   The City of Idaho Falls, by and through its policymakers, created and maintained a
10
        custom, policy, or practice of failing to train, supervise, or discipline its employees and
11
        agents, including Defendants, regarding their obligations to document and disclose
12
13      exculpatory evidence pursuant to their Brady obligations.

14   251.   The unconstitutional customs, policies, patterns, and practices of the City of Idaho Falls
15      have caused other individuals, other than Tapp himself, to be prosecuted or convicted on the
16
        basis of false and fabricated evidence, including but not limited to Michael Whiteley.
17
     252.   These unconstitutional customs, policies, and practices of the City of Idaho Falls
18
19      proximately and directly caused Tapp’s physical and constitutional injuries, including his

20      false arrest, illegal confinement, unfair trial, wrongful conviction, and other damages
21
        described above.
22
                                    IDAHO STATE LAW CLAIMS
23
24                                              COUNT XI
25                            State Law Claim for Malicious Prosecution
26             Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey
27
28

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     253.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
 1
 2      herein, and further alleges as follows:

 3   254.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey caused criminal
 4
        proceedings to be brought against Tapp without probable cause and without any reasonable
 5
        belief in guilt. Tapp is completely innocent of the rape and murder of Angie Dodge. As
 6
 7      Defendants knew, the sole basis for the criminal action against Tapp was the false evidence

 8      that Defendants fabricated, while forensic evidence (including DNA) exculpated him. No
 9      reasonable officer in 1996 would have believed that fabricated evidence provided probable
10
        cause to arrest, and no reasonable officer in 1996 would have believed that an arrest and
11
        prosecution without probable cause was justified.
12
13   255.   Defendants also continued the prosecution against Tapp on the basis of this false and

14      fabricated inculpatory evidence and suppressed material exculpatory evidence, thereby
15      subjecting Tapp to ongoing seizure.
16
     256.   The criminal proceedings against Tapp were initiated with malice. Defendants Fuhriman,
17
        Finn, Grimes, Brown, Stacey, and Livsey caused the charges against Tapp to be filed by
18
19      knowingly providing the prosecution misinformation, concealing exculpatory evidence, and

20      otherwise engaging in wrongful and bad faith conduct that caused the initiation of the legal
21
        proceedings against Tapp when they knew there was no probable cause.
22
     257.   As a direct and proximate result of Defendants Fuhriman, Finn, Grimes, Brown, Stacey,
23
24      and Livsey’s actions, Tapp was wrongly arrested, detained, charged with rape and murder,

25      prosecuted, convicted, sentenced to life in prison plus fifteen years and a fixed term of thirty
26      years on the murder conviction and a term of twenty years with a fixed term of ten years on
27
        the rape conviction and suffered the other grievous injuries and damages set forth above.
28

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     258.   The criminal proceedings against Tapp terminated in his favor.
 1
 2   259.   On March 22, 2017, the District Court of the Seventh Judicial District of the State of

 3      Idaho entered an order amending Tapp’s conviction, dismissing his rape charge, and vacating
 4
        his sentence for that charge. This Order left Tapp’s first-degree murder conviction in effect.
 5
     260.   After a hearing on July 17, 2019, the District Court of the Seventh Judicial District of the
 6
 7      State of Idaho, In and For the County of Bonneville, issued an Order on July 25, 2019,

 8      vacating and dismissing Tapp’s murder conviction based on actual innocence. On August 12,
 9      2019, Tapp’s criminal case, CR-1997-481, was dismissed pursuant to the ruling dismissing
10
        Tapp’s murder conviction based on actual innocence.
11
                                                  COUNT XII
12
                                State Law Claim for False Imprisonment
13
                          Fuhriman, Finn, Grimes, Brown, Stacey, and Livsey
14
     261.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
15
        herein, and further alleges as follows:
16
17   262.   The conduct of the above-named Defendants directly resulted in the false imprisonment

18      of Tapp while acting in the scope of their employment for the Idaho Falls Police Department
19
        and the City of Idaho Falls.
20
     263.   Tapp’s liberty of movement and freedom to remain in the place of his own lawful choice
21
22      was violated by his wrongful conviction causing him to be restrained against his will.

23   264.   The restraint of Tapp against his will was caused by Defendants Fuhriman, Finn, Grimes,
24      Brown, Stacey, and Livsey’s intentional conduct in fabricating evidence, coercing false
25
        confessions, and concealing exculpatory evidence.
26
     265.   As a direct and proximate result of Defendants’ actions, Tapp suffered the grievous
27
28      injuries and damages set forth above.

                                                     53
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                                                  COUNT XIII
 1
                   State Law Claim for Intentional Infliction of Emotional Distress
 2
            Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos
 3
     266.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
 4
 5      herein, and further alleges as follows:

 6   267.   Tapp has suffered serious and severe emotional distress as a direct and proximate result
 7      of Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos’s extreme,
 8
        outrageous, and intentional acts in both unlawfully obtaining his wrongful conviction and by
 9
        failing to turn over evidence directly proving his innocence.
10
11   268.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos committed this

12      misconduct intentionally while acting in the scope of their employment for the Idaho Falls
13
        Police Department and the City of Idaho Falls.
14
     269.   Tapp’s serious and severe emotional distress was a reasonably foreseeable consequence
15
        of Defendants’ actions.
16
17   270.   As a direct and proximate result of Defendants’ actions, Tapp has suffered and continues

18      to suffer emotional distress which has been accompanied by physical manifestations,
19
        including anxiety, depression, extreme stress, and other ailments.
20
                                                  COUNT XIV
21
                    State Law Claim for Negligent Infliction of Emotional Distress
22
            Against Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos
23
     271.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
24
        herein, and further alleges as follows:
25
26   272.   Tapp has suffered and continues to suffer serious and severe emotional distress as a direct

27      and proximate result of Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and
28

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        Roos’s negligent acts in both unlawfully obtaining his wrongful conviction and by failing to
 1
 2      take steps that would have led to his exoneration years earlier.

 3   273.   Defendants Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos committed this
 4
        misconduct while acting in the scope of their employment for the Idaho Falls Police
 5
        Department and the City of Idaho Falls.
 6
 7   274.   Tapp’s serious and severe emotional distress was a reasonably foreseeable consequence

 8      of Defendants’ actions.
 9   275.   As a direct and proximate result of Defendants’ actions, Tapp has suffered emotional
10
        distress which has been accompanied by physical manifestations, including anxiety,
11
        depression, extreme stress, and other ailments.
12
13                                                Count XV

14                                State Law Claim for Invasion of Privacy

15                                     Against Defendant Fuhriman

16   276.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
17      herein, and further alleges as follows:
18
     277.   Fuhriman placed Tapp in a false light in the public eye by making false and injurious
19
        public statements to the press, that Tapp was guilty of the murder of Angie Dodge. Fuhriman
20
21      made these statements even though he knew or should have known that Tapp was innocent.

22   278.   Fuhriman committed this misconduct while acting in the scope of their employment for
23      the Idaho Falls Police Department and the City of Idaho Falls.
24
     279.   As a direct and proximate result of Defendant’s actions, Tapp has suffered the grievous
25
        harms and injuries set out more fully above.
26
27
28

                                                     55
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 1                                                COUNT XVI
 2                               State Law Claim for Vicarious Liability
 3                              Against Defendant the City of Idaho Falls
     280.   Plaintiff hereby incorporates each of the allegations of this Complaint as if fully set forth
 4
 5      herein, and further alleges as follows:

 6   281.   At all times relevant herein, the City of Idaho Falls was the employer of Defendants
 7
        Fuhriman, Finn, Grimes, Brown, Stacey, Livsey, and Roos. As such, all acts or omissions by
 8
        these defendants, as an agent for the City of Idaho Falls, were the acts and omissions of their
 9
10      principle, City of Idaho Falls.

11   282.   As an employer, the City of Idaho Falls is liable for all damages caused by its agents, as
12      described herein, while acting within the scope of their employment.
13
     283.   As an employer, the City of Idaho Falls is responsible for all its employees’ actions that
14
        were in furtherance of or incidental to the employment.
15
16                                           JURY DEMAND

17
     284.   Pursuant to the Seventh Amendment of the United States Constitution, Tapp requests a
18
        jury trial on all issues and claims set forth in this Complaint.
19
20                                        PRAYER FOR RELIEF

21
22          WHEREFORE, Tapp demands judgment jointly and severally against Defendants as

23   follows:

24          A. That the Court award compensatory damages to him and against the Defendants,

25   jointly and severally, in an amount to be determined at trial but that exceeds the jurisdictional
26   limits of all lower courts that would otherwise have jurisdiction over this action;
27
28

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 1          B. That the Court award punitive damages to him, and against all individual Defendants,
 2   in an amount to be determined at trial, that will deter such conduct by Defendants in the future;
 3          C. For a trial by jury;
 4
            D. For pre-judgment and post-judgment interest and recovery of his costs, including
 5
     reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988 for all 42 U.S.C. § 1983 claims; and
 6
            E. For any and all other relief to which he may be entitled.
 7
 8
 9                                                Respectfully submitted,
10
     Dated: October 8, 2020
11
                                                  By:     /s/Peter Neufeld_____________
12                                                        Peter Neufeld
13                                                        Nick Brustin
                                                          Anna Benvenutti Hoffmann
14                                                        Katie McCarthy
                                                          Kate Fetrow
15
                                                          Neufeld Scheck & Brustin, LLP
16                                                        99 Hudson Street, 8th Floor
                                                          New York, NY 10013
17
                                                          /s/John Thomas______________
18
                                                          John Thomas
19                                                        166 Martinsburg Lane
                                                          Idaho Falls, ID 83404
20
                                                  Attorneys for Plaintiff Christopher Tapp
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